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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

SENDSIG, LLC,

             Plaintiff,
                                          CIVIL ACTION NO.
       v.

E LA CARTE, INC., dba PRESTO
                                            JURY TRIAL REQUESTED
             Defendant.


               COMPLAINT FOR PATENT INFRINGEMENT
      SendSig, LLC (“SendSig” or “Plaintiff”) alleges the following as its

Complaint for Patent Infringement against Defendant E La Carte, Inc. dba Presto

(“Presto” or “Defendant”):

                                  THE PARTIES
      1.     SendSig is a limited liability company organized and existing under the

laws of the State of Georgia with its principal office at Day Building, 4725 Peachtree

Corners Circle, Suite 320, Peachtree Corners, GA 30092.

      2.     Defendant Presto is a Delaware corporation with a regular and

established placed of business in Addison, Texas. Upon information and belief,

Presto has a regular and established place of business at 15105 Surveyor Blvd.,

Addison, Texas 75001. Presto may be served through its registered agent, InCorp

Services, Inc., 815 Brazos St., Suite 500, Austin, Texas 78701.
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       3.     Defendant Presto uses the tradename “Presto®” in branding and selling

its products, services and media.

                          JURISDICTION AND VENUE

       4.     This Court has exclusive subject matter jurisdiction pursuant to 28

U.S.C. §§ 1331 and 1338(a) because this action arises under the Patent Laws of the

United States, 35 U.S.C. § 1 et seq., including §§ 271, 281, 284, and 285.

       5.     Presto is subject to personal jurisdiction in this Court under 28 U.S.C.

§ 1400(b). Presto has committed acts of infringement and maintains a substantial,

regular, and established place of business in this district, employs numerous

engineers in this district, has minimum contacts with Texas, and has purposefully

availed itself of the privileges of conducting business here through the sale and

marketing of products and services that infringe SendSig’s patent throughout Texas

and in this district.

       6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1400(b) on the

grounds that Defendant has committed acts of infringement and has a regular and

established place of business in this judicial district.

                               FACTUAL BACKGROUND
       7.     SendSig is the owner by assignment of all right, title and interest in and

to United States Patent Number 6,292,164 B2, titled “System and Method for

Character Display and Entry in Character Processing System” (the “’164 Patent”),


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including the right to sue and collect damages for all past, present, and future

infringement.

      8.     Exhibit A is a true and correct copy of the ’164 Patent.

      9.     The ’164 Patent issued from U.S. patent application number 09/191,774

(the “’774 Application”) filed on November 13, 1998.

      10.    Following a full and fair examination, the Patent Office issued the ’164

Patent on September 18, 2001.

      11.    The ’164 Patent is valid and enforceable.

                  SUBJECT MATTER OF THE ’164 PATENT
      12.    The ’164 Patent describes a system and method for character display

and entry in a character processing system. The subject matter claimed in the ’164

Patent relates to text processing and user input of information for a text processing

system involving displaying a set of characters in a size larger than characters

already accepted and displayed in the system.

      13.    The ’164 Patent recognized that an advantage of the inventions is “the

ease of selection among the[] characters.”

      14.    The ’164 Patent teaches a text input and processing system that receives

a set of user inputs associated with a set of characters. User input of characters is

advantageously enabled by displaying characters for input in a larger size than

characters already accepted and displayed in the system.


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      15.      The claims of the ’164 Patent are directed to improving the ease of

selection and accuracy of the characters selected and inputted.

      16.      The claims of the ’164 Patent are directed to a particular manner of

displaying characters for input.

      17.       Figures 6A and 6B from the ’164 Patent illustrate characters accepted

as input by the user and larger print character(s) for selection by the user. Displaying

such characters in larger size eases user selection and input.




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                               E LA CARTE/PRESTO




      18.    Presto is the developer, owner, and distributor of Presto and Presto

Prime devices such as those shown below that feature a touchscreen interface, credit

card reader, and built-in printer.

      19.    Presto makes, imports, markets, sells, offers to sell, tests, and/or uses

the Presto point-of-sale (“Presto POS”) system that includes software and hardware.

      20.    The Presto POS system provides entertainment, ordering and pay-at-

the-table functionality for restaurants.

      21.    The original Presto technology and recently launched Presto Prime™

next generation tablets each feature tablet devices with encrypted credit card readers.




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      22.    Presto devices are specifically designed for the restaurant industry, are

installed at customer seating, and are intended for engagement by restaurant

customers. Presto also markets a Presto Handheld tablet device for use by restaurant

servers.




      23.    Presto devices are in use in more than 1800 restaurant locations

nationwide, including at well-known restaurant chains like Applebee’s, Denny’s,

Red Lobster, and Outback Steakhouse, among others.

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       24.    According to Presto’s website, more than a million guests are served

daily by its Presto System, and it processes more than a billion dollars annually.




       25.    Presto devices incorporating the claimed subject matter of SendSig’s

’164 Patent have transformed and streamlined the casual dining experience.

       26.    Using a Presto device, restaurant guests can order food or beverages

directly from the device, and they can order on their own schedule, not the schedule

of the wait staff.

       27.    Presto devices allow restaurant patrons to pay for their meal with a

credit card, debit card, gift card or other payment option (see below).




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      28.    After completing a payment transaction, restaurant patrons are given

the choice of receiving an emailed or printed copy of their receipt.




      29.    Presto tablets enable guests to view menu items, play games, view news

and entertainment, order food and beverages and ‘pay on demand’ - giving control

over their dining experience.

      30.    Featuring interactive capabilities, Presto devices provide a media

footprint for direct engagement with customers. To capitalize on this engagement

opportunity, Presto generate revenue by delivering games and entertainment directly

to a table and by splitting revenue with the makers of games and applications made

available on its Presto Systems.




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      31.    Presto markets that its Presto devices modernized the restaurant

experience by enabling restaurants to collect guest email addresses and engage with

guests over social media.

      32.    The games and applications on Presto devices are revenue generators.

      33.    Presto’s profitability is tied directly tied to customer purchases and use

of applications and games on Presto devices.

      34.    On information and belief, subject to discovery in this case, Presto and

its restaurant customers that have deployed Presto systems (such as those listed

above) enter into revenue-sharing agreements.

      35.    Presto products and services present a display that prompts a user to

enter his/her email address to be sent a receipt or to join an email list.




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      36.    When a character is touched on the keypad on the touchscreen display,

it “pops out” (either the character itself or a group of selected characters).

      37.    Presto devices (including but not limited to the Presto Prime EMVTM

Tablet) include touch screen displays.




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      38.     Presto devices display a keypad for use as an input device.

      39.     Presto devices feature a touchscreen providing for user input to the

Presto POS system.

      40.     The Presto device keypad displays one or more sets of characters.

      41.     Presto devices include computer executable code (the “Presto Device

Software”).

      42.     Character sets displayed by a Presto device and Presto Device Software

allow users to input information that comprises a set of user inputs associated with

one or more of the sets of characters, including, for example, an email address.




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      43.    Presto devices include memory and Presto Device Software for

operation of the Presto POS system.

      44.    The Presto Device Software, and thus the Presto devices, include a data

structure (“Presto Data Structure”) that associates sets of user inputs with respective

sets of the one or more sets of characters. Thus, the Presto Device Software and

Presto devices include the element of “a memory including a data structure, the data

structure associating sets of user inputs with respective sets of characters” as recited

in claim 19 of the ’164 Patent.

      45.    The Presto Device Software and Presto Data Structure determine a set

of characters associated with a set of user inputs at least when it displays the “pop

up” characters displayed to the user and thus include the element of “code that based

on the data structure, determines a set of characters associated with the set of user

inputs”, as recited in claim 19 of the ’164 Patent.

      46.    The Presto Device Software and Presto devices enable a user to use the

displayed keypad to input information (e.g., an email address). Thus, the Presto

Device Software and Presto device receives a set of user inputs associated with a set

of characters, the set of user inputs received from the user input device (for example,

the displayed keypad).

      47.    During normal operation of a Presto device running Presto Device

Software, a user selects a displayed character (either from the displayed keypad or

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the “pop out”). Thus, during normal operation of a Presto device running Presto

Device Software, a user can input a set of user inputs from the user input device and

thus the Presto Device Software and Presto device perform a step of “receiving a set

of user inputs associated with a set of characters” as recited in claim 1 of the ’164

Patent and include the element of “code that receives a set of user inputs, the set of

user inputs received from the user input device”, as recited in claim 19 of the ’164

Patent.

      48.    The photograph below shows selection of the number “3” on a Presto

device during normal operation.




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      49.    During normal operation as intended by Presto, when a displayed

character is selected, the accused Presto Device Software and Presto device cause

the selected character (which is from the one or more sets of characters) to be

displayed on the Presto device display screen in a size larger than the characters

already accepted and displayed on the Presto device display screen. During normal

operation as intended by Presto, when a selected character is displayed in a size

larger than the characters already accepted and displayed on the Presto device

display screen, it is easier for a user to select among at least some of the characters

displayed. Thus, the Presto Device Software and Presto device perform a step of “in

a size larger than characters already accepted and displayed by the system,

displaying characters from the set of characters”, as recited in claim 1 of the ’164

Patent, and meet the element of “code that causes at least some characters from the

set of characters to be displayed on the display, the at least some characters being

displayed in a size larger than characters already accepted and displayed on the

display, thereby providing ease of selection among the at least some characters

displayed”, as recited in claim 19 of the ’164 Patent.

      50.    For example, in reference to the photograph above, at least the “j”, “3”,

and “e” characters are accepted and displayed characters input to the Presto device

display.




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      51.      During normal operation as intended by Presto, user selection among

characters displayed is improved when the accused Presto devices cause the selected

character (from the one or more sets of characters) to be displayed in a size larger

than the characters already accepted and displayed by the Presto device.

      52.      During normal operation as intended by Presto, after a character is

selected (and in response to such selection by the user), the Presto Device Software

and Presto device cause it to be displayed in a size generally corresponding to the

size of those characters already accepted and displayed by the Presto device on the

Presto device display. Thus, the Presto Device Software and the Presto device

perform the steps of “receiving a user selection of at least a character from the set of

characters” and “in response to the user selection, displaying the character in a size

generally corresponding to characters already accepted and displayed by the

system”, as recited in claim 1 of the ’164 Patent. The Presto Device Software and

the Presto device include the element of “code that in response to a user selection

among the at least some characters, causes at least a selected character to be

displayed, in a size that generally corresponds to the size of characters already

accepted and displayed by the system, on the display”, as recited in claim 19 of the

’164 Patent.




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      53.    The photographs below demonstrate selection of the “3” character for

input, causing it then to be displayed in a size generally corresponding to the size of

characters already accepted and displayed by the Presto device.




      54.    The Presto POS system is cloud-based and includes Presto servers.

      55.    Presto provides technical details about the Presto devices at

https://presto.com/restaurant-tablet-ordering-system/.

      56.    The     information     about    the    Presto    devices     found     at

https://presto.com/restaurant-tablet-ordering-system/    accurately    describes   the

normal operation of the Presto devices.




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          COUNT I – DIRECT INFRINGEMENT OF THE ’164 PATENT
      57.     SendSig realleges and incorporates by reference the allegations set

forth above, as if set forth verbatim herein.

      58.     Presto has directly infringed the ’164 Patent in violation of 35 U.S.C. §

271(a) by making, using (including its own use and testing), selling, or offering to

sell in the United States, or importing into the United States the Presto POS system,

associated software, servers, hardware and software that embody at least claims 1

and 19.

      59.     The particular combination of claim elements recited in these claims

was not well-understood, routine, or conventional to a skilled artisan in the relevant

field at the time of the inventions.

      60.     Infringing products include the Presto POS system and other branded

solutions with the same or similar features and functionality that satisfy each element

of one or more asserted claims.

      61.     Technical details about the infringing Presto products and services is

available at www.presto.com.

      62.     Presto has no authority or license to practice any claim of the ’164

Patent.

      63.     SendSig is entitled to recover from Presto compensation in the form of

monetary damages suffered as a result of Presto’s infringement in an amount that


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cannot be less than a reasonable royalty together with interest and costs as fixed by

this Court.

COUNT II – INDUCED PATENT INFRINGEMENT OF THE ’164 PATENT
      64.     SendSig realleges and incorporates by reference the allegations set

forth above, as if set forth verbatim herein.

      65.     Since the filing of this Complaint giving notice of infringement and

details about the acts constituting infringement of the ’164 Patent, Presto has actively

and intentionally induced the direct infringement by others (namely, restaurants and

customers) of at least claims 1 and 19, in violation of 35 U.S.C. § 271(b).

      66.     Presto provides instructions that encourage and direct performance of

steps and operation that constitute infringement of the ’164 Patent.

      67.     Presto encourages and directs performance of certain practices by

revenue-sharing agreements with restaurants.

      68.     Presto’s knowledge of the ’164 Patent and Plaintiff’s infringement

allegations against Presto, combined with its knowledge of the Accused Products

and how they are used to infringe the ’164 Patent, consistent with Presto’s

promotions and instructions, demonstrate Presto’s specific intent to induce Presto’s

users to infringe the ’164 Patent.

      69.     SendSig is entitled to recover from Presto compensation in the form of

monetary damages suffered as a result of Presto’s infringement in an amount that


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cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court.

                                  JURY DEMAND

      70.     Plaintiff hereby demands a trial by jury of all issues so triable, pursuant

to Fed. R. Civ. P. 38.


                               PRAYER FOR RELIEF

      71.     SendSig respectfully requests that the Court find in its favor and against

Presto, and that the Court grant the following relief:

      a) Judgment that Presto infringes one or more claims of the ’164 Patent;

      b) An accounting and an award to SendSig of damages adequate to
         compensate Plaintiff for the Defendant’s acts of infringement (but in no
         event less than a reasonable royalty), together with pre-judgment and post-
         judgment interest and costs, pursuant to 35 U.S.C. § 284;

      c) A finding that this is an exceptional case and an award to Plaintiff for its
         reasonable attorneys’ fees and expenses, in accordance with 35 U.S.C.
         § 285; and

      d) Any further relief that this Court deems just and proper.




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Respectfully submitted this 24th day of May, 2019,

                                    By: /s/ David A. Skeels

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